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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                          Civil Minutes


 Date: May 29, 2019                                                  Judge: Hon. James Donato

 Time: 28 Minutes

 Case No. & Name        C-14-3264-JD In re Capacitors Antitrust Litigation
                        MD-17-2801-JD In re Capacitors Antitrust Litigation (No. III)


 Attorney(s) for Plaintiff(s):    Anupama Reddy/Joseph Saveri/Charles Tompkins
                                  Eric R. Lifvendahl
 Attorney(s) for Defendant(s):    Laura Hurtado/Chris Johnstone/Ian Papendick

 Deputy Clerk: Lisa R. Clark                                      Court Reporter: JoAnn Bryce

                                          PROCEEDINGS

Motion Hearing - Held

                                     NOTES AND ORDERS

The Court hears argument on Flextronics’ motion for limited modification of the February 17,
2015 Protective Order. MDL Dkt. No. 537. For the reasons stated on the record, the Court
grants the motion with the following conditions:

   ● For any document from the Capacitors litigation that Flextronics uses in the Inductors
     litigation, there will be no change in confidentiality designation or protection.
     Documents will retain the same designations and protections as in the Capacitors case.

   ● Before using any document in the Inductors case, Flextronics will specifically identify to
     the Capacitors producing party which documents it intends to use, by Bates range. The
     producing party will then have 30 days to raise an objection in the Inductors litigation.

   ● This order applies to documents only, and does not apply to deposition transcripts or
     discovery responses.

There will be no further written order.

On the DPPs’ reservation of their right to seek compensation, the Court encourages the parties to
meet and confer. Any money that the DPP class is entitled to should be returned to the class.

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For the DPPs’ pending fee request and their supplemental submission (MDL Dkt. Nos. 498,
594), the Court requests more follow-up on the payments to plaintiffs’ law firms (to whom and
what for), as well as a summary on meal expenses and business class travel that would aid the
Court in its review of DPPs’ supplemental submission.

DPPs’ counsel represents they are withdrawing their previous request for the $922,858.80
reserve. See MDL Dkt. No. 597.

The parties anticipate submitting a request for a status conference in July 2019.




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